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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 IN RE CATTLE ANTITRUST                            Case No. 19-cv-1222-JRT-HB
 LITIGATION
                                                    NATIONAL BEEF
 This document relates to:                      PACKING COMPANY, LLC’S
                                                 MOTION TO DISMISS THE
 ALL CASES                                      CONSOLIDATED AMENDED
                                                CLASS ACTION COMPLAINT



       Defendant National Beef Packing Company, LLC (“National Beef”) moves

pursuant to Federal Rule of Civil Procedure 12(b)(6) to dismiss with prejudice the

Consolidated Amended Class Action Complaint in the above-captioned case.

       This motion is supported by National Beef’s Memorandum of Law in Support of its

Motion to Dismiss the Consolidated Amended Class Action Complaint and all of the files,

records, and proceedings herein.
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Dated: September 13, 2019           By:    s/ Benjamin L. Ellison
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